          Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 1 of 15



1    Anna Y. Park (SBN 164242)
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     Sue J. Noh (SBN 192134)
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8    U.S. EQUAL EMPLOYMENT
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     Telephone: (213) 683-6000
14   Facsimile: (213) 627-0705
     Attorneys for Defendant
15   PACIFIC BELL TELEPHONE COMPANY
     (Erroneously Named as AT&T Pacific Bell Telephone Company)
16
                                  UNITED STATES DISTRICT COURT
17
                                 EASTERN DISTRICT OF CALIFORNIA
18

19   U.S. EQUAL EMPLOYMENT OPPORTUNITY ) Case No.: 1:17-CV-01059-LJO-EPG
     COMMISSION,                               )
20
                                               )
                                               )
                 Plaintiff,                    ) CONSENT DECREE;
21
           v.                                  ) ORDER
22
                                               )
     AT&T PACIFIC BELL TELEPHONE               )
23
                                               )
     COMPANY, and Does 1-10, inclusive,        )
24
                                               )
                 Defendants.                   )
25   _________________________________________ )

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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 2 of 15



1                                                        I.
2                                               INTRODUCTION
3           Plaintiff U.S. Equal Employment Opportunity Commission (“EEOC” or “Plaintiff”) and
4    Defendant Pacific Bell Telephone Company (“Pacific Bell” or “Defendant”) hereby stipulate and agree
5    to entry of this Consent Decree (the “Decree”) to fully and finally resolve Plaintiff’s complaint against
6    Defendant in U.S. Equal Employment Opportunity Commission v. AT&T Pacific Bell Telephone
7    Company, and Does 1-10, inclusive; Case No. 1:17-CV-01059-LJO-EPG (the “Action”).
8           On August 8, 2017, Plaintiff filed this Action in the United States District Court, Eastern District
9    of California, for violation of the Americans with Disabilities Act of 1990 (“ADA”), as amended by the
10   ADA Amendments Act of 2008 (“ADAAA”). The Action alleged that Defendant discriminated against
11   Charging Party Daniel Manning (“Charging Party” or “Mr. Manning”) on the basis of disability
12   (deafness), denied him equal terms and conditions of employment, failed to engage in the interactive
13   process, and failed to provide a reasonable accommodation. Pacific Bell denies the EEOC’s allegations
14   and denies liability, and nothing in this Decree shall be construed as an admission of wrongdoing or
15   liability by Defendant.
16                                                     II.
17                         PURPOSES AND SCOPE OF THE CONSENT DECREE
18   A.     The EEOC and Defendant (collectively, the “Parties”) agree that this Action should be fully and
19   completely resolved by entry of this Consent Decree prior to trial or adjudication of any issue of fact or
20   law. The Decree is made and entered into by and between the EEOC and Pacific Bell and shall be
21   binding on and enforceable against Pacific Bell as well as its agents, successors and assigns. Pacific
22   Bell shall not implement any policies, procedures, and/or practices at Pacific Bell which violate this
23   decree and/or the ADA as amended.
24   B.     The Parties have entered into this Decree for the following purposes:
25          1.      To provide appropriate monetary and injunctive relief;
26          2.      To ensure Defendant complies with federal law in reasonably accommodating Daniel
27   Manning;
28   ///




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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 3 of 15



1              3.     To ensure Defendant’s employment practices comply with the ADA, as amended by the
2    ADAAA;
3              4.     To ensure a work environment free from disability discrimination, especially as it relates
4    to reasonable accommodation of hard of hearing and deaf employees;
5              5.     To provide training to Mr. Manning’s immediate supervisor, that individual’s supervisor,
6    and the Human Resources employee assigned to meet with Mr. Manning, including reasonable
7    accommodation training and information on deafness and deaf culture as well as additional information
8    regarding deafness and hearing impairments in the workplace as set forth in this Decree;
9              6.     To ensure training in disability discrimination including, but not limited to, the interactive
10   process and reasonable accommodations for hard of hearing and deaf employees;
11             7.     To ensure appropriate record keeping, reporting, and monitoring; and
12             8.     To resolve this dispute without the burden, expense, and delay of further litigation.
13                                                       III.
14                                             RELEASE OF CLAIMS
15   A.        This Decree fully and completely resolves the Action, including all issues, claims and allegations
16   raised by the EEOC against Pacific Bell in this Action, as well as those raised by Charging Party Daniel
17   Manning in EEOC Charge No. 485-2015-00177.
18   B.        Nothing in this Decree shall be construed to limit or reduce Pacific Bell’s obligation to comply
19   fully with the ADA, ADAAA, and/or any other federal employment statute.
20   C.        Nothing in this Decree shall be construed to preclude the EEOC from bringing suit to enforce
21   this Decree in the event that any party fails to perform the promises and representations contained
22   herein.
23   D.        This Decree in no way affects the EEOC’s right to bring, process, investigate or litigate other
24   charges that may be in existence or may later arise against Pacific Bell in accordance with standard
25   EEOC procedures.
26   ///
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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 4 of 15



1                                                     IV.
2                                                 JURISDICTION
3    A.     The Court has jurisdiction over the Parties and the subject matter of this litigation, and will retain
4    jurisdiction during the duration of this Consent Decree.
5    B.     The Action asserts claims that, if proven, would authorize the Court to grant the equitable relief
6    set forth in this Decree. The terms and provisions of this Decree are fair, reasonable, and just. This
7    Decree conforms with the Federal Rules of Civil Procedure and the ADA/ADAAA and is not in
8    derogation of the rights or privileges of any person.
9    C.     The Court shall retain jurisdiction of this action during the duration of the Decree for the
10   purposes of entering all orders, judgments and decrees that may be necessary to implement the relief
11   provided herein.
12                                                    V.
13                            EFFECTIVE DATE AND DURATION OF DECREE
14   A.     The provisions and agreements contained herein are effective immediately upon the date which
15   this Decree is entered by the Court (the “Effective Date”).
16   B.     Except as otherwise provided herein, this Decree shall remain in effect for two (2) years after the
17   Effective Date (the “Term”).
18                                                    VI.
19                                  MODIFICATION AND SEVERABILITY
20   A.     This Decree constitutes the complete understanding of the Parties with respect to the matters
21   contained herein. No waiver, modification or amendment of any provision of this Decree will be
22   effective unless made in writing and signed by an authorized representative of each of the Parties.
23   B.     If one or more provisions of the Decree are rendered unlawful or unenforceable, the Parties shall
24   make good faith efforts to agree upon appropriate amendments in order to effectuate the purposes of the
25   Decree. In any event, the remaining provisions will remain in full force and effect unless the purposes
26   of the Decree cannot, despite the Parties’ best efforts, be achieved.
27   C.     By mutual agreement of the Parties, this Decree may be amended or modified in the interests of
28   justice and fairness in order to effectuate the provisions herein.




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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 5 of 15



1                                                        VII.
2                               COMPLIANCE AND DISPUTE RESOLUTION
3    A.     The Parties expressly agree that if the EEOC has reason to believe that Pacific Bell has failed to
4    comply with any provision of this Consent Decree, the EEOC may bring a motion before this Court to
5    enforce the Decree. Prior to initiating such motion, the EEOC will notify Pacific Bell and its legal
6    counsel of record, Jan E. Eakins, in writing, of the nature of the dispute. This notice shall specify the
7    particular provision(s) that the EEOC believes Pacific Bell has breached. Pacific Bell shall have thirty
8    (30) days to attempt to resolve or cure the alleged breach. The parties may agree to extend this period
9    upon mutual consent.
10   B.     The Parties agree to cooperate with each other and use their best efforts to resolve any dispute
11   referenced in the EEOC notice.
12   C.     After forty-five (45) days have passed, inclusive of the thirty (30) days to resolve or cure the
13   breach, if the Parties have reached no resolution or agreement to extend the time further, the EEOC may
14   move this Court for resolution of the dispute, seeking all available relief, including an extension of the
15   Term of the Decree for such period of time as the EEOC proves Defendant is in breach of the Decree,
16   and/or any other relief the Court deems appropriate.
17                                                       VIII.
18                                            MONETARY RELIEF
19   A.     In settlement of this lawsuit, Defendant Pacific Bell will pay a total of Fifteen Thousand Dollars
20   ($15,000) (the “Settlement Amount”) to Charging Party Daniel Manning to resolve this Action. Within
21   thirty (30) business days after the Effective Date, Defendant shall cause to be delivered directly to Mr.
22   Manning a check for the entire Settlement Amount made payable to Daniel Manning.
23   B.     The EEOC has designated that this payment to Mr. Manning will be non-wage compensation;
24   thus, no tax withholding shall be made. Pacific Bell shall prepare and distribute 1099 tax reporting
25   form(s), as required by law, and shall make any appropriate report(s) to the Internal Revenue Service
26   and other tax authorities. Defendant shall prepare and distribute a 1099 tax reporting form to Mr.
27   Manning in the ordinary course of business.
28   ///




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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 6 of 15



1    C.     Within ten (10) business days of the issuance of the settlement check to Daniel Manning, Pacific
2    Bell shall submit a copy of the check and any related correspondence to Anna Y. Park, Regional
3    Attorney, U.S. Equal Employment Opportunity Commission, Los Angeles District Office, 255 East
4    Temple Street, 4th Floor, Los Angeles, CA, 90012.
5                                                    IX.
6                                      GENERAL INJUNCTIVE RELIEF
7    A.     Anti-Discrimination
8           Pacific Bell, its agents, successors, and assigns, or any of them, is enjoined not to discriminate
9    against any qualified individual because of his or her disability, as required by law, including failing to
10   provide reasonable accommodation to hard of hearing and/or deaf employees employed in California
11   and/or denial of any benefit or privilege of employment provided to other similarly situated hearing
12   employees on the basis of deafness.
13   B.     Retaliation
14          Pacific Bell, its agents, successors, and assigns, or any of them, is enjoined from retaliation
15   against any current or former employee or applicant of Pacific Bell employed in California, because he
16   or she has in the past, or during the Term of this Decree:
17          1.      Opposed any practice made unlawful under the ADA;
18          2.      Filed a charge of discrimination alleging such practice;
19          3.      Participated in any manner in an internal or external investigation or proceeding relating
20   to this case or any claim of a violation of ADA;
21          4.      Was identified as a possible witness or claimant in this Action;
22          5.      Asserted any right under this Decree; or
23          6.      Sought and/or received any relief in accordance with this Decree.
24   ///
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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 7 of 15



1                                                         X.
2                                          CLAIMANT SPECIFIC RELIEF
3           To the extent that Mr. Manning makes any new requests for accommodation, Defendant will
4    engage in the interactive process with Charging Party Daniel Manning in response to such requests and
5    will ensure that effective reasonable accommodation continues to be provided so that Mr. Manning can
6    perform the essential functions of his position and may enjoy equal benefits and privileges of
7    employment as similarly situated hearing employees. The EEOC and Mr. Manning each understand and
8    acknowledge that effective reasonable accommodation does not necessarily mean that Mr. Manning will
9    be provided the specific accommodation requested.
10   A.     Provision of Sign Language Interpreter for Certain Meetings and/or Training
11          1.      Defendant agrees to provide a sign language interpreter at the following meetings and/or
12   training sessions that Mr. Manning is required by Pacific Bell to attend:
13                  a.      Live Training Sessions. Group training sessions provided in person by a live
14   trainer (e.g., not web-based or other online training);
15                  b.      Required Web-based or Other Online Training. An interpreter will be provided
16   for any required web-based or online training provided by Defendant which includes spoken narration of
17   any kind but does not have closed captioning. To the extent that Mr. Manning requires a sign language
18   interpreter under this subsection, Defendant reserves the right to schedule any such training during
19   consecutive periods in the same workday.
20                  If Mr. Manning desires to access specific Company-provided web-based or online
21   training that: (1) is not required, but (2) is available to be accessed by his similarly situated hearing co-
22   workers, and (3) includes spoken narration that is not closed captioned, he must notify his supervisor of
23   his request to access such training. Defendant will have thirty (30) business days after receipt of the
24   request to provide the means for Mr. Manning to access such training.
25                  c.      Staff Meetings. Staff and/or departmental meetings that Mr. Manning’s entire
26   peer group (Union-represented employees in the Engineering Administrator job title who work in
27   Fresno, California) is required by Pacific Bell to attend;
28   ///




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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 8 of 15



1                    d.         Meetings Regarding Alleged Adverse Employment Action. Scheduled meetings
2    directly affecting Mr. Manning’s job, such as, notification of office shut-down or relocation, elimination
3    of his position/group, layoff/surplusage, disciplinary action, or specific deficiencies in his job
4    performance.
5            2.      Defendant has entered into an agreement with the Deaf & Hard of Hearing Service
6    Center, Inc. (“DHHSC”) in Fresno, California, the most recent of which is dated January 23, 2017, to
7    provide sign language interpreting services to Charging Party Daniel Manning, whose work location is
8    in Fresno, California. If DHHSC interpreters are unavailable for any of the above meetings for which an
9    interpreter is required by this Decree, Defendant will attempt to locate another vendor in Fresno,
10   California who provides sign language interpreters and document its efforts to provide an effective
11   alternative interpreter.
12           3.      Defendant agrees that it will not use policies enforced by interpreting services regarding
13   the number of interpreters required for the duration of the meeting or minimum hour requirements as a
14   reason not to provide Mr. Manning with an interpreter. Defendant also agrees that due to the difficulty
15   in scheduling interpreters on short notice, it will make reasonable efforts to provide at least two weeks of
16   notice for any meeting Mr. Manning is required to attend for which an interpreter is required by this
17   Decree.
18           4.      If Defendant, for any reason, is unable to provide an interpreter for any of the above
19   meetings for which an interpreter is required by this Decree, Defendant will notify Mr. Manning as soon
20   as possible and will engage in the interactive process with Mr. Manning prior to the meeting to agree
21   upon an alternative accommodation. The alternative accommodation will not be for Mr. Manning to
22   attend the meeting via video relay while in his workspace.
23           5.      If Mr. Manning requests an interpreter for a situation that does not fall under the meetings
24   and trainings provided for in this section, Defendant will consider the accommodation request. Mr.
25   Manning must make such a request to his immediate supervisor. Any decision to deny an interpreter and
26   rationale for the decision shall be communicated to Mr. Manning in writing, including any alternative
27   accommodation provided.
28   ///




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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 9 of 15



1    B.     Monthly Meetings Between Mr. Manning and His Supervisor
2           An in-person meeting between Mr. Manning and his immediate supervisor will be scheduled by
3    his supervisor for one hour each month during the Term of this Decree, if Mr. Manning expresses a
4    desire that the meeting occur. Mr. Manning’s supervisor will send an email to Mr. Manning two weeks
5    ahead of each planned monthly meeting to inquire whether a meeting is desired, and Mr. Manning will
6    respond within five (5) days of that email. The purpose of this monthly meeting generally is to discuss
7    his job duties and give Mr. Manning an opportunity to raise any questions that may have arisen in the
8    prior month or that he may have about his tasks for the coming month; provided, however, either Mr.
9    Manning or his supervisor may raise any other job-related topics they deem appropriate during the
10   allotted time for this monthly meeting. Defendant agrees to provide a sign language interpreter at each
11   of these monthly meetings. The EEOC and Mr. Manning each understand and acknowledge that the
12   meetings need not last as long as an hour if neither Mr. Manning nor his supervisor has any topics to
13   discuss and both agree to end the meeting before the end of the scheduled hour.
14   C.     Follow-Up Conference Calls With A Representative From Human Resources
15          A representative from the Human Resources organization will be designated by Defendant to
16   schedule a conference call with Mr. Manning at least once every three months during the Term of this
17   Decree. The purpose of this conference call generally is to give Mr. Manning an opportunity to raise
18   any questions he may have about any accommodation(s) provided to him by Defendant, but either Mr.
19   Manning or the Human Resources representative may raise any other employment-related topics they
20   deem appropriate. The EEOC and Mr. Manning each understand and acknowledge that the
21   representative from the Human Resources organization will not be in Fresno, California, and thus the
22   conference will be by telephone, not in person, and that a live sign language interpreter will not be
23   provided. Instead, Mr. Manning will initiate the conference call using his Sorensen videophone so that
24   sign language interpreter services will be provided through a video remote service.
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          Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 10 of 15



1    D.     Review Of AUTS And CareerPath
2           Within thirty (30) business days of the Effective Date, Defendant will schedule a meeting with
3    Mr. Manning and Company representative(s) designated by Defendant for the purpose of reviewing how
4    to use AUTS and CareerPath. AUTS is the collectively bargained Automated Upgrade and Transfer
5    System (AUTS) regarding Union-represented job titles, and CareerPath is the system for current
6    employees to explore non-Union job requisitions, if any. Defendant agrees to provide a sign language
7    interpreter for this meeting.
8    E.     Technology
9           Defendant will ensure its technology is consistent with specifications required for Mr. Manning’s
10   Sorenson Video Phone to work properly.
11   F.     Non-Retaliation
12          Defendant agrees that it will not retaliate against Mr. Manning for requesting accommodations
13   (including asking for an interpreter), seeking assistance from the designated human resources employee,
14   making complaints internally or externally, or seeking outside assistance such as from a job coach.
15   G.     All provisions in this section will continue to apply during the Term of the Decree regardless of
16   whether Mr. Manning remains in his current position or changes positions and/or departments. To the
17   extent Mr. Manning’s supervisor changes, his new supervisor and that person’s supervisor will be
18   trained as provided for in Sections XI.A, XI.B, and XI.C.
19                                                      XI.
20                                     SPECIFIC INJUNCTIVE RELIEF
21   A.     Information on Deafness and Deaf Culture
22          Within ten (10) business days of the Effective Date, the EEOC shall provide to Defendant’s legal
23   counsel of record, Jan E. Eakins, a list of vendors in the Fresno, California area who can provide
24   information in person regarding deafness and deaf culture. Defendant agrees that, within twenty (20)
25   business days of receiving that list of vendors from the EEOC, Defendant will schedule a meeting of at
26   least two (2) hours for one of the vendors to meet in person with Mr. Manning’s immediate supervisor
27   and that individual’s supervisor, as well as the Human Resources employee assigned to meet with Mr.
28   Manning (who may not be present in person and who may receive the information by video or telephone




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          Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 11 of 15



1    at Defendant’s discretion) to receive information regarding deafness, deaf culture, and technological
2    advances relevant to the deaf community. These three individuals shall sign a written verification of
3    having received the information from the vendor provided by the EEOC.
4    B.     Additional Information Regarding Deafness and Hearing Impairments in the Workplace
5           Within ten (10) business days of the Effective Date of this Decree, Defendant also agrees to
6    provide Mr. Manning’s immediate supervisor, that individual’s supervisor, and the Human Resources
7    employee assigned to meet with Mr. Manning with a copy of the EEOC’s Questions and Answers about
8    Deafness and Hearing Impairments in the Workplace and the Americans with Disabilities Act as found
9    at https://www.eeoc.gov/eeoc/publications/qa_deafness.cfm (“Q&As”). These three individuals shall
10   sign a written verification of having read these EEOC questions and answers.
11   C.     Training with Regard to Reasonable Accommodation
12          1.      Within one hundred eighty (180) days of the Effective Date of this Decree, Defendant
13   shall provide the training described below to the following individuals:
14          (a)     all Pacific Bell managers who have direct reports;
15          (b)     all Human Resources employees with the job title of Employee Relations Manager; and
16          (c)     all Human Resources employees with the job title of Universal Leave Examiner.
17          2.      Pacific Bell’s reasonable accommodation training shall consist of the following
18   components:
19          (a)     The completion of the one (1) hour internal web-based training called “Job
20   Accommodation Training for Supervisors,” Course #60597823, which includes a description of the law
21   prohibiting disability discrimination with specific and practical emphasis on engaging in the interactive
22   process and determining a reasonable accommodation. This training is interactive in that it requires an
23   individual taking the training to respond to questions that provide multiple choice answers relating to the
24   prior training section as various sections of the training are completed, and informs the individual if
25   his/her answer is correct (or if not, which answer is the correct answer), before going on to the next
26   section. The training also informs persons taking the training of available resources where they can go
27   for further information, including job accommodation information available online on HR One-Stop,
28   and identifies persons to contact to answer job accommodation questions or provide additional guidance




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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 12 of 15



1    on job accommodation; and
2           (b)     The reading of the EEOC’s publication called “Questions and Answers about Deafness
3    and Hearing Impairments in the Workplace and the Americans with Disabilities Act” as found at
4    https://www.eeoc.gov/eeoc/publications/qa_deafness.cfm.
5           (c)     Then, not later than thirty (30) days prior to the expiration of the Decree, Defendant shall
6    provide the same training to the same three categories of individuals described above (“refresher
7    training”).
8    D.     Record Keeping and Reporting
9           1.      For the duration of this Consent Decree, Pacific Bell agrees to maintain records as are
10   necessary to demonstrate its compliance with this Consent Decree, including all records regarding Mr.
11   Manning’s accommodations. Defendant will make the aforementioned records available to the EEOC
12   for inspection and copying within twenty (20) business days following a written request by the EEOC to
13   Defendant’s counsel of record.
14          2.      Within ninety (90) days of the Effective Date, Pacific Bell will provide to the EEOC,
15   through Pacific Bell’s counsel of record, the verification signed by the three individuals, as required by
16   Sections XI.A and B. Within nine (9) months after the Effective Date, and after the refresher training
17   thereafter, Pacific Bell will verify to the EEOC that the training required by XI.C has been conducted
18   and all required employees completed the training.
19          3.      For the duration of this Consent Decree, Pacific Bell will provide a semi-annual report to
20   EEOC, through Defendant’s counsel of record, which will be due thirty (30) days after the completion of
21   each six (6) month period of the Term of the Decree, and will include the following:
22                  a.      A report of every instance, if any, in which an interpreter required pursuant to this
23   Decree was not provided, including the reason(s) the interpreter was not provided, the date and duration
24   of the event, and a brief description of the type of event (e.g., live training session). If the reason the
25   interpreter was not provided was due to unavailability of an interpreter, the report will include which
26   interpreting services were contacted and the dates on which contact was made;
27   ///
28   ///




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           Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 13 of 15



1                   b.      A report of every instance, if any, in which Mr. Manning requested an interpreter,
2    but was not provided an interpreter where not required to do so, in accordance with this Decree,
3    including: (1) the date of Manning’s written request for an interpreter and the date and nature of the
4    event and (2) the date of Defendant’s written response and the reason(s) for the decision, including any
5    alternative accommodation provided;
6                   c.      Verification that the monthly meetings between Mr. Manning and his supervisor
7    occurred during the reporting period and a summary of the meeting;
8                   d.      Verification that the quarterly meetings between Mr. Manning and the Human
9    Resources employee assigned to meet with Mr. Manning occurred during the reporting period and a
10   summary of the meeting; and
11                  e.      Each job Mr. Manning has applied to and the outcome of his application,
12   including whether he was selected for the job and, if not, every reason he was not selected.
13                  f.      Any communication provided to Mr. Manning by his supervisor, as set forth in
14   Section X.A.1.d., regarding any office shut-down or relocation pertaining to Mr. Manning’s
15   position/group, elimination of his position/group, layoff/surplusage, disciplinary action, or specific
16   deficiencies in his job performance.
17                                                       XII.
18                       COSTS OF ADMINISTRATION AND IMPLEMENTATION
19                                           OF CONSENT DECREE
20                  Pacific Bell shall bear all costs associated with its administration and implementation of
21   its obligations under this Consent Decree.
22                                                       XIII.
23                                     COSTS AND ATTORNEYS’ FEES
24                  Each party shall bear its own costs of suit and attorneys’ fees.
25   ///
26   ///
27   ///
28   ///




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             Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 14 of 15



1                                                        XIV.
2                                       MISCELLANEOUS PROVISIONS
3    A.       Unless otherwise stated, all notices, reports and correspondence required under this Decree shall
4    be delivered to the attention of Anna Y. Park, Regional Attorney, U.S. Equal Employment Opportunity
5    Commission, 255 East Temple Street, 4th Floor, Los Angeles, CA, 90012; facsimile number (213) 894-
6    1301. All notices to Defendant required under this Decree shall be delivered to its counsel of record, Jan
7    E. Eakins, Paul Hastings LLP, 515 South Flower Street, 25th Floor, Los Angeles, CA 90071; facsimile
8    number (213) 627-0705.
9    B.       The Parties agree to entry of this Decree and judgment subject to final approval by the Court.
10   All parties, through the undersigned, respectfully apply for and consent to this entry of this Consent
11   Decree Order.
12
                                                           Respectfully submitted,
13

14                                                         U.S. EQUAL EMPLOYMENT
                                                           OPPORTUNITY COMMISSION
15

16
     Date:
17                                                 By:     Anna Y. Park
                                                           Attorneys for Plaintiff EEOC
18

19
                                                           PAUL HASTINGS LLP
20

21   Date:
22
                                                   By:     Jan E. Eakins
                                                           Attorneys for Defendant
23                                                         Pacific Bell Telephone Company
24
                                                           PACIFIC BELL TELEPHONE COMPANY
25
     Date:
26
                                                   By:     Lisa N. Wally, AVP – Senior Legal Counsel
27
                                                           Representative of Defendant
28                                                         Pacific Bell Telephone Company




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         Case 1:17-cv-01059-LJO-EPG Document 20 Filed 07/11/18 Page 15 of 15



1                                               ORDER
2          The provisions of the foregoing Consent Decree are hereby approved and compliance with all
3    provisions thereof is HEREBY ORDERED.
4
     IT IS SO ORDERED.
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6       Dated:   July 11, 2018                        /s/ Lawrence J. O’Neill _____
                                              UNITED STATES CHIEF DISTRICT JUDGE
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